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                     IN TH E UNITED STATES BANK RUPTCY COURT
                        FO R TH E SO UTH E RN D ISTR ICT O F TEM S
                                   H O U STO N D IV ISIO N                                  ENTERED
                                                                                            11/01/2017
I!C lt>::                                                  C ASE N UM BER :

D AV ID CO R O N A                                         17-33936-114-13
                                             j
(Debtor)                                                   (Chapter13)
    ORDER REQUIRING ROBERT BEAM ,PAUL KIM AND REQUESTING KEVIN
            M AD D EN T O A PPEA R A ND O FFER TESTIM O NY R EG A R D IN G
     MR.TROY MOUTON AMERICAN NEIGHBORHOODHOMESOLUTIONS,
                     M R .D AV ID CO R O N A ?M S.Y A DIR A G O N ZA LEZ
                ANDBANKRVPTCYCASENOS.16-35469AND17-33136
                       (ThisOrderrelatestodocketnos.29,46 and 48)
         M r.David Coronaand M s.Yadira GonzalezappearedbeforethisCourton July 26,August
4,Septem ber12 and 27,2017. M r.Corona and M s.Gonzaleztestified andprovided docum ents
regarding alleged creditrepair,loan modifications,bankruptcy filings,and the role ofM r.Troy
M outon. A m ong other things,M r.Corona and M s.G onzalez testified they paid m oney to M r.
M outon to save the house located at 802 Sandford Lodge Drive,H ouston Texas. They further
testified M outon had taken no action to save the hom e, and had filed several unauthorized
bankruptciesforCorona. Theybelieved M r.M outonwashiredresolvecreditproblem sand Sstix''
thingswith themortgagecompany holding thenote on the 802 Sandford LodgeDriveproperty.

        M r.M outon did notinitially appearin responseto a Show CauseOrderand wasultimately
arrested andbroughtbeforetheCourt. On Septem ber26,27,and October12,2017,M r.M outon
appeared andtestifed thathefiled bankruptcieson M r.Corona'sbehalf,and signed M r.Corona's
name on the documents attached asExhibits A and B withoutM r.Corona's directperm ission.
Additionally,M r.M outon testified thathe recalled receiving atleast$8,000 from M s.Gonzalez
from which hesubsequentlypaid $3,000to M r.RobertBenm atCreditAdvisorsUSA and $3,000
M r.PaulKim atTurnkey M ortgageGroup forcreditrepairand loan m oditk ation issues.

        Thedocuments,collective information and testimony raiseseriousconcernsthatM r.Troy
M outon provided legal advice, engaged in the unauthorized practice of law, prepared or
participated in the preparation and filing of deticient,bad faith bankruptcies under Case Nos.
16-34569 and 17-33936,violated the bankruptcy code,including section 110,advocated a course
ofaction designed to resultin a dism issaland engaged in a schem e orartificeto defraud the Court.

       Based on the above,the CourtrequiresM r.RobertBeam and M r.PaulK im to appearand
requestsM r.K evin M adden to appearata hearing to be conducted on N ovem ber28,2017 at2:00
PM and offer testim ony regarding M r. M outon, Am erican Neighborhood Home Solutions
($tANHS'') TexasCapitalHomebuyers(ç$TCHB''); receiptoffundsfrom Mr.Mouton,ANHS
and/or TCHB ; any m atters surrounding their business transactions with M r.M outon, AN H S
       Case 17-33936 Document 54 Filed in TXSB on 10/31/17 Page 2 of 27




and/or TCHB and any inform ation regarding M r.M outon,ANHS and/orTCHB'Spattern and
practice ofcreditrepair,bankruptcy filings orhom e loan m odification w ork. Itistherefore:

        ORDERED thata show causehearing willbe held on November28,2017 at2:00 PM in
Courtroom 600,6th floor,Bob Casey FederalCourthouse, 515 Rusk Street,Houston,Texas;and
itisfurther

       O RD ER ED that M r.RobertB emn and M r. Paul Kim shallappear and offertestim ony
regarding M r.Mouton;American Neighborhood Home Solutions (1W NHS'');Texas Capital
Homebuyers($tTCHB'');receiptoffundsfrom Mr.Mouton,ANHS and/orTCHB;any matters
surrounding businesstransactions with M r.M outon,ANHS and/orTCHB and any information
regarding M r.M outon,ANH S and/orTCHB'Spattern and practice ofcreditrepair,banknzptcy
filingsorhomeloan modification work;and itisfurther

       ORDERED that M r. Robert Beam and M r.Paul Kim shall bring with them to this
hearing the following inform ation:any a11docum ents,em ails,paperwork,material,electronic
transmissions and bank recordspertaining to (1) Troy M outon,(2) American Neighborhood
HomeSolutions,(3)TexasCapitalHomebuyers,(4)DavidCorona,(5)YadiraGonzalez,(6)the
propertylocated at802 Sandford LodgeDrive,Houston Texas,77073,and (7)bankruptcycase
nos.16-34569 and 17-33936;and itisfurther

       O R DE RED thatthe Clerk ofCourtshallsend a copy ofthisO rderto M r.RobertBeam at:

              CreditA dvisorsU SA
              5201 Richm ond A ve.
              Houston,Texas 77056

       O R DE RED thatthe Clerk of Courtshallsend a copy ofthis Orderto M r.PaulKim at:

              Turnkey M ortgage G roup
              5373 W .Alabama Street
              Houston,Texas 77056

And itisfurther

       REQUESTED that M r. Kevin Madden appear and offer testimony regarding M r.
M outon; American Neighborhood Home Solutions (çW NHS''); Texas Capital Homebuyers
(ç$TCHB'');receiptoffundsfrom Mr.M outon,ANHS and/orTCHB;any matterssurrounding
business transactionsw ith M r.M outon,AN H S and/or TCH B and any inform ation regarding M r.
M outon,AN H S and/or TCH B'Spattern and practice ofcreditrepair,bankruptcy tilings orhom e
loan m odification work;and itisfurther

        The United States Trustee,c/o Stephen D .Statham is requested to provide electronic and
facsim ile notice ofthisO rderand hearing atthe follow ing:

       (1)    Paul@ tltmcrp.com
Case 17-33936 Document 54 Filed in TXSB on 10/31/17 Page 3 of 27




(2)   832-217-3140
(3)   kmm@ kmaddenlaw.com
(4)   832-538-0937


SIGNED this
           qlstday of J                ,2017




                             JeffB ohm
                             U .S.Bankruptcy Judge
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         TimellnereAmy Condit'sInvolvementwith US LegalNetwork Servlçe,

1)Odobte2:14:Ibegan worklngforUS LegAlNetwork Services,located at3255Cahuenga
Blvd W est.M y position tht're wastelemarketing where 1w asN id 10 dollarsperhouras a 1099
employee. n ough my lastnnme isCondit,Iam listed asAmyRogan on thecourtdocuments
btciuse1wasgivtn afaux lastname atUS LegalNetwork Servicts.Forjobsthatare based
primarilyoverthephoneitiscommonpracticetochangeyourlastnanw.A11employeesthtreused
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2)Januaq z015:Theperson1wasteltmarketingwithforlefttheCompany.1wasthenputin
lzis positiûn as what was called a case m anager. 1 provided custnm er service and collected
installmentpaym entsfrom tlw clitnts1wasassignedtohelp.           I

3)M arcb2:15:YolandaRemer(th:Banknlptparty)reachedouttoUSLegaiNdworkServices
toassistherwltb htlp inavoidingforeclosureonherhouse.Sheoriginqllyspokew1:1170hnFlsher
whotookherrequestforassistc ceandputherintooursystem .
M y timelspoketo aclient Ilqttlwm % ow in the begie ng thatIwasnota lawyerto avoid
confuqion.1,Qwn,hadconversationswiththeclientsassignedtomeandexplalnedfrom awritten
scriptwhatU S LegalNetwork Serviotswas going to try to do forShem and arr= ged tlw sohedule
ofpam ents. YolandaRemerwould have been no treated no diferently.

4)November19,2015:Thiswasthelastday thatIwasactuallyinthçom ce. Twoofthepeople
Iworked foratUS LegalNetwork Services,NickiG.andRoyE.,cametomydesk R d saidthat
Yolandawasgoingtc aforeclosuresalethenextday andtoprepareherforbanknlptcy.

'Trepping''ismeantto givetheclientthephonenumberforan outsidc bnnknlptcy attom eythat
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Iwasarrested on thebtnch wsrrant.
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5)The sameday,1forwarded thestandard emailtemplateandbnnkruptcy packotto Yojanda
Rem er. Aherthat1didnothearfrom heragain. ThiswasalsotheléstdaythatIworked in the
oë ceofUS LegalNetwork Services,M y experiencestherewereawful. Ihated goingtowork
because ofsom e ofthe em ployeesthere. The atmosphere wasbad.

6)December192015:ThedaythatIleh workinNovemberwasthelastday1wasintlw offlc:
butthiswasmy offciallastday. M y m anager,ChrisJohnnon,called p e to see ifIwasretum ing
to work.1tnld him lwas not.

7)Fall2016:Roughly :-10monthsl&ter,lreceivedavoicemail9om agentlemanwhosaidhe
w orked forthe Texu Bynkw ptcy Trustee's Oftice asking aboutUS LegalNetwork Services. I
don'trecallhisname.Iwasconfusedbythecallbecauseitcameso longaler1leh thatcompany.
1 dld ncttmdetstand why he would have been calling me because I only was a customer

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service/salesrepresentativeforUS LegalNetwork Services,and.Iha0neverbeen involvedwith
anythingtodo withTexmsto my knowledge.1clearly misunderstoodthepointofthecall,and,I
assllmedthiswasthecompany'sbusinessthatIwasno longerinvolved with.

8)M arch22,:017:Arolmd9:00a.m.,4USMarshallcarspulleduptomyhûuse.Oneblocked
my driveway.M y son washelph g mecarry stuffto m y carso Icould go to work. TheM arshalls
stm edracingtowardsme. Atfirst,1thought!wasaboutto beattack4d androbbed byagang.l
wastaken to theFederi Courthousein LnsAngeleswheri Iwaskeptin ahclding = 11. Iwas
taken before aU S M agistrate atkd told thatIwasbeing held on a S'Btnch W arrant'' and Iposted a
$10,000 bond. 1soon realized whatthe phone callhad been about and,lam sorry 1did nQt
tmderstand earlier,




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